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 and the Proposed Class

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 STEVEN OWEN, individually, and on Civil Case No. 3:22-cv-02855-ZNQ-DEA
 behalf of all others similarly situated,
                                          Class Action
                       Plaintiff,
 v.                                       ORDER FOR THE PRO HAC VICE
                                          ADMISSIONS OF ATTORNEYS
 NESTLE HEALTHCARE                        LAURENCE D. KING, MATTHEW
 NUTRITION, INC.,
                                          B. GEORGE, BLAIR E. REED AND
                       Defendant.         MICHAEL D. BRAUN



      THIS MATTER having been brought before the Court by way of motion of

Kaplan Fox & Kilsheimer LLP (“Kaplan Fox”), counsel for Plaintiff Steven Owen

(“Plaintiff”), and counsel for Defendant having no objection hereto, and the Court

having considered the matter, and for good cause shown,
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        IT IS on this ____
                      24th day of ____________________,
                                  August                2022,

        ORDERED that Laurence D. King, Matthew B. George, Blair E. Reed and

 Michael D. Braun are hereby admitted pro hac vice on behalf of Lead Plaintiffs in

 the above-captioned matter pursuant to Local Civil Rule 101.1(c); and it is further

        ORDERED that all notices, pleadings, briefs, and other papers filed with the

 Court shall be served upon Kaplan Fox, and that Kaplan Fox shall enter all

 appearances, be responsible for signed papers and for the conduct of the attorneys

 admitted herewith and shall be present before the Court during all phases of this

 action unless expressly excused by the Court; and it is further

        ORDERED that Laurence D. King, Matthew B. George, Blair E. Reed and

 Michael D. Braun, within twenty (20) days from the date of the entry of this Order,

 shall each make payments to the New Jersey Lawyers’ Fund for Client Protection

 as provided by the New Jersey Court Rule 1:28-2(a) and shall make such payment

 as required for each year in which they continue to appear pro hac vice in this

 matter, and shall each payment $150 to the United States District Court for the

 District of New Jersey, as required by Local Civil Rule 101.1(c).



                                         ________________________________
                                         s/Douglas E. Arpert
                                         Honorable Douglas E. Arpert
                                         United States Magistrate Judge

--terminates ECF No. 8




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